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          Attorneys for Defendant




                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION




    CHANDRA HEWES,                                                Civil No. 3:17-cv-00281-AC

                        Plaintiff,
                                                     STIPULATED GENERAL JUDGMENT
          v.
    TARGET CORPORATION,

                        Defendant.

                   The above-entitled matter, having been submitted to The Honorable John
    V. Acosta, Magistrate Judge, and based upon the stipulation of the parties by and

    through their attorneys that the matter has been settled and that a judgment of dismissal
    with prejudice may be entered,
    Ill
    Ill


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                  Therefore, the above-entitled matter is hereby dismissed with prejudice
    and without costs to either party.

                  DATED this _ _ day of July, 2017.




                                             The Honorable John V. Acosta
                                             U.S. District Court Judge

                  IT IS SO STIPULATED:


     7-<o- J!t
    Date                                     Matthew Philbrook, OSB #110694
                                             Attorney for Plaintiff


      ~5,2017
    Date                                     William H. StOCioll,OSB #743163
                                             Attorney for Defendant




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